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                                                                       October 2, 2018
 The Honorable Michael A. Shipp
 United States Magistrate Judge
 Clarkson S. Fisher Building & U.S. Coutihouse
 402 East State Street
 Trenton, New Jersey 08608

                Re: In re FieldTurf Artificial Turf Marketing and Sales Practices Litigation,
                No. 3:17-md-02779 (MAS)(TJB)

 Dear Judge Shipp:

        We are Co-Lead Counsel for the Class Plaintiffs in the above-referenced litigation. We
 write to resolve a clerical enor in connection with the filing of Class Plaintiffs' Second
 Consolidated Amended Class Action Complaint ("SAC") [Dkt No. 120].

         On October 1, 2018, Class Plaintiffs filed the SAC by ECF. When uploading the document
 to the ECF system, Class Plaintiffs inadvertently "clicked" on certain parties who are not class
 representatives, which resulted in those additional parties being listed as "filers" of the SAC on
 the ECF system. We spoke with the Clerk's office this morning and alerted them of the clerical
 enor. In an effort to conect the error, the Clerk's office inadvertently removed the additional
 parties from the docket entirely, instead of editing the docket text for Dkt. No. 120 to remove the
 additional patiies as "filers" for the SAC.

        The Clerk's office requested we write to Your Honor to order conection of the docket as
 follows:

        Only the following seven (7) Named Plaintiffs should be listed as filers of the SAC, Dkt.
 No. 120:

         •   BOROUGH OF CARTERET,
         •   THE CITY OF FREMONT
         •   COUNTY OF HUDSON
         •   LEVITTOWN UNION FREE SCHOOL DISTRICT
         •   NESHANNOCK TOWNSHIP SCHOOL DISTRICT
         •   STATE-OPERATED SCHOOL DISTRICT OF THE CITY OF NEWARK
         •   SANTA YNEZ VALLEY UNION HIGH SCHOOL DISTRICT

         The following parties should not be listed as filers of the SAC, Dkt. No. 120, but should
  remain (or be reinstated) as additional parties on the docket:

         •   NEW CASTLE SCHOOL DISTRICT
         •   BROWNSVILLE INDEPENDENT SCHOOL DISTRICT,


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         •   PAJARO VALLEY UNIFIED SCHOOL DISTRICT (PVUSD),
         •   CHEROKEE CENTRAL SCHOOLS
         •   CHAFFEY JOINT UNION HIGH SCHOOL DISTRICT
         •   LAKE TAHOE UNIFIED SCHOOL DISTRICT
         •   RICHARD GENTILE
         •   LAKEVIEW DAY CAMP
         •   RANNEY SCHOOL
         •   THEPAW,INC

          If Your Honor has any questions or requires any additional info1mation on this matter,
  please let us know.




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